                 Case 1:23-cr-00019-CKK Document 42 Filed 01/17/23 Page 1 of 1

                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                          :
                                                   :
          v.                                       :    MAGISTRATE NO. 22-MJ-203
                                                   :
                                                   :
 PAUL EDWALD LOVLEY,                               :    VIOLATION:
                                                   :    40 U.S.C. § 5104(e)(2)(G)
                       Defendant.                  :    (Parading, Demonstrating, or Picketing in
                                                   :    a Capitol Building)




                                           INFORMATION

       The United States Attorney charges that at all relevant times:


                                                   COUNT ONE

       On or about January 6, 2021, within the District of Columbia, PAUL EDWALD LOVLEY willfully and

knowingly paraded, demonstrated, and picketed in any United States Capitol Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40, United States
       Code, Section 5104(e)(2)(G))

                                                       Respectfully submitted,

                                                       MATTHEW M. GRAVES
                                                       UNITED STATES ATTORNEY
                                                       D.C. Bar No. 481052



                                             By:       _______________________
                                                       JOSEPH H. HUYNH
                                                       D.C. Bar No. 495403
                                                       Assistant United States Attorney (Detailed)
                                                       405 East 8th Avenue, Suite 2400
                                                       Eugene, Oregon 97401-2708
                                                       Telephone: (541) 465-6771
                                                       Joseph.Huynh@usdoj.gov
